         Case 17-04699-CL13              Filed 04/20/18       Entered 04/20/18 15:48:54            Doc 48     Pg. 1 of 2
CSD 1159A [11/15/04]
Name, Address, Telephone No. & I.D. No.
DARLENE C. VIGIL - CA NO. 223442
BARRETT DAFFIN FRAPPIER TREDER & WEISS, LLP
20955 PATHFINDER ROAD SUITE 300
DIAMOND BAR, CA 91765
                                                                                                    April 20, 2018
Phone: (626) 915-5714, Fax: (972) 661-7726
E-mail: SDCAECF@BDFGROUP.COM
File No. 00000007440944

             UNITED STATES BANKRUPTCY COURT
                 SOUTHERN DISTRICT OF CALIFORNIA
      325 West "F" Street, San Diego, California 92101-6991

In Re
STEPHEN J. LEWIS aka Stevan J. Lewis and SHELLY L. LEWIS fka Shelly L.
Johansen                                                                          BANKRUPTCY NO.   17-04699-CL13
                                                              Debtor.

HSBC BANK USA, NATIONAL ASSOCIATION AS TRUSTEE FOR WELLS FARGO ASSET
SECURITIES CORPORATION, MORTGAGE PASS-THROUGH CERTIFICATES SERIES                 RS NO.   EAT-1
2006-AR11                                                  Movant(s)


STEPHEN J. LEWIS, SHELLY L. LEWIS, THOMAS H. BILLINGSLEA,                         Date of Hearing: April 25, 2018
Trustee, ROBERT THOMAS and SAN DIEGO COUNTY, Lienholders                          Time of Hearing: 2:00 P.M.
                                                              Respondent(s)       Name of Judge: Hon. Christopher    B. Latham


                                                  ORDER ON
                                     STIPULATION RE: ADEQUATE PROTECTION



           IT IS ORDERED THAT the relief sought as set forth on the continuation pages attached and numbered two (2)

 through     2    with exhibits, if any, for a total of   2   pages, is granted. Motion/Application Docket Entry No.    32/41    jrm

 //

 //

 //

 //



 DATED:          April 20, 2018
                                                                        Judge, United States Bankruptcy Court


 Signature by the attorney constitutes a certification under
 Fed. R. of Bankr. P. 9011 that the relief in the order is the
 relief granted by the court.

 Submitted by:

  BARRETT DAFFIN FRAPPIER TREDER & WEISS, LLP
 (Firm name)


 By: DARLENE C. VIGIL /s/ DARLENE C. VIGIL
   Attorney for ✔ Movant    Respondent


CSD 1159A
         Case 17-04699-CL13                    Filed 04/20/18             Entered 04/20/18 15:48:54      Doc 48      Pg. 2 of 2
CSD 1159A [11/15/04](Page 2)
ORDER ON STIPULATION RE: ADEQUATE PROTECTION
DEBTOR: STEPHEN
        Johansen
                 J. LEWIS aka Stevan J. Lewis and SHELLY L. LEWIS fka Shelly L.
                                                                                                       CASE NO: 17-04699-CL13
                                                                                                       RS NO.: EAT-1

IT IS ORDERED that the terms and provisions contained in the Stipulation Re: Adequate Protection filed on April 18,
2018, as Docket Entry No. 41 is hereby granted.

   IT IS HEREBY STIPULATED by and between Movant HSBC BANK USA, NATIONAL ASSOCIATION AS TRUSTEE
FOR WELLS FARGO ASSET SECURITIES CORPORATION, MORTGAGE PASS-THROUGH CERTIFICATES SERIES
2006-AR11 (“Movant”), through its attorneys of record, and Adam B. Arnold, attorney for Debtors STEPHAN J. LEWIS
and SHELLY L. LEWIS (“Debtors”) as follows:

    Movant is the beneficiary of a promissory note secured by a first priority deed of trust recorded on May 3, 2006 as
Instrument No. 2006-0311215 in the Office of the County Recorder of San Diego County, California, encumbering that
certain real property commonly known as 3975 VIA PALO VERDE LAGO, ALPINE, CA 91901, and legally described in
the subject deed of trust.

   IT IS FURTHER ORDERED that the Debtors must cure the postpetition default computed through April 2018 in the
sum of $21,319.01 as follows:
4 monthly payments @ $4,914.52 each (December 2017 – March 2018) = $19,658.08
1 monthly payment @ $4,983.25 (April 2018 ) = $4,983.25
NSF fees = $25.00
Less Suspense = ($3,347.32)
Total = $21,319.01

a. In equal monthly installments of $1,776.59 each commencing May 15, 2018 and continuing thereafter through and
including March 15, 2019;
b. By paying the sum of $1,776.52 on or before April 15, 2019.

      IT IS FURTHER ORDERED that in addition, Debtors shall pay the regular post-petition monthly mortgage
installments commencing on May 1, 2018 and continuing on the first (1st) day of each calendar month thereafter during
the pendency of this bankruptcy case. Payments must be received before the expiration of any grace period allowed by
the terms of the promissory note. The current monthly payment is $4,983.25, but is subject to change pursuant to the
terms of the promissory note.

      IT IS FURTHER ORDERED that if any of the foregoing payments is not timely received, Movant shall serve written
notice upon the Debtors and Debtors’ attorney, allowing Debtors fourteen (14) calendar days from the date of service to
cure her default. If Movant does not receive the amount in default before the expiration of said fourteen-day period,
movant may lodge and serve a Declaration re Failure to Cure Default and proposed Order Granting Automatic Stay after
seventy-two (72) hours telephonic notice to attorney for Debtors. The proposed order shall include a provision deeming
it effective and enforceable immediately upon its entry with no stay on its enforcement as prescribed by Rule 4001(a)(3)
of the Federal Rules of Bankruptcy Procedure.

   IT IS FURTHER ORDERED that Debtors’ counsel’s fees of $625.00 are allowed and will be paid through the
Chapter 13 Plan.

      IT IS FURTHER ORDERED that the foregoing terms and conditions shall be binding only during the pendency of
this bankruptcy case. If, at any time, the stay is terminated by court order or by operation of law, the foregoing terms and
conditions shall cease to be binding and movant may proceed to enforce its remedies under applicable non-bankruptcy
law.




CSD 1159A
                                                                                        Signed by Judge Christopher B. Latham April 20, 2018
